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                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

  JOSHUA D. JONES, JOEY PYCKE,                      )
  EDWARD PURCELL,                                   )
  CHARLES R. IRONS,                                 )
  RONDA THOMPSON,                                   )
  KELLY SCHREIBER, et al.                           )
                                                    )      FLSA COLLECTIVE ACTION
                       Plaintiffs                   )      COMPLAINT UNDER
                                                    )      29 USC § 216(b)
                                                    )
           vs.                                      )      CASE NO. 1:11-cv-1431 JMS-DKL
                                                    )
  C & D TECHNOLOGIES, INC.,                         )
                                                    )
                       Defendant                    )

                        DEFENDANT C & D TECHNOLOGIES, INC.’S
                SECOND CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

           Defendant C & D Technologies, Inc. (“C&D”), by counsel, pursuant to Federal Rule of

  Civil Procedure 56 and Local Rule 56.1, hereby respectfully moves for partial summary

  judgment against Plaintiffs on their Fair Labor Standards Act (“FLSA”) claims on the grounds

  that there is no genuine issue as to any material fact and, therefore, C&D is entitled to judgment

  as a matter of law. Specifically, C&D seeks a ruling from the Court making the following legal

  determinations:

           1.          Plaintiffs’ meal breaks do not constitute hours worked under the FLSA and C&D

  appropriately included meal break pay in the regular rate;

           2.          Plaintiffs cannot recover additional compensation for unpaid time worked under

  forty (40) hours (i.e., gap time) in any given workweek;

           3.          Any work time remaining after the paid lunch time, gap time, and premium

  payments are taken into account is de minimis;

           4.          C&D is entitled to offsets for premium payments;


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           5.          Plaintiffs cannot recover liquidated damages under the FLSA; and

           6.          The FLSA’s two (2)-year statute of limitations, not three (3)-year statute of

  limitations, applies.

           Attached to this Motion as Exhibit 1 is Defendant’s Appendix in Support of Second

  Cross-Motion for Partial Summary Judgment listing the additional exhibits attached hereto in

  support of Defendant’s Motion.

           In support of its Motion, C&D is filing contemporaneously herewith its Memorandum in

  Support of Second Cross-Motion for Partial Summary Judgment and Response in Opposition to

  Plaintiffs’ Motion for Partial Summary Judgment.

                                                     Respectfully submitted,

                                                     FAEGRE BAKER DANIELS LLP


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                                      CERTIFICATE OF SERVICE

         I hereby certify that on October 25, 2013, I electronically filed the foregoing with the
  Clerk of the Court using the CM/ECF system, which sent notification of such filing to the
  following:

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                                                   s/Martha M. Lemert




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